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DUNNINGTON

BARTHOLOW & MILLER LLP
ATTORNEYS AT LAW

230 Park Avenue | 21% Floor | New York, NY 10169 | Telephone: 212-349-2800 | www.dunnington.com | rswetnick@dunnington.com

November 11, 2019

VIA ECF

Hon. Lorna G. Schofield
United States District Court
Southern District of New York
500 Pear! Street

New York, New York 10007

RE: Ramirez v M.L. San Jose Enterprises Corp., et al.
Case No. 19-Civ-3429 (LGS)

Dear Judge Schofield:

This office represents the Defendants in the above noted matter and we submit this letter
in response to Plaintiff’s request by letter dated November 8, 2019 for an extension of time.

Last week I was out of state visiting a relative who is ill. The requested list of names,
addresses, etc. which had to be served by November 7" were received by this office and were in
fact, albeit by mail, served on November 6, 2019, in my absence. When I received a voicemail
from Plaintiffs counsel, I asked an associate in the office to respond and to confirm that the
document had been sent. Later in the day when I received another voicemail from Plaintiff’ s
counsel; I attempted to call him directly and was unable to reach him and sent him a text
message.

Although we do not believe it is necessary to extend dates inasmuch as Plaintiff should
have his notice ready and the list contains only seven (7) names, we have no objection if he

needs an additional few days to complete the mailing.

Thank you for your consideration and attenti

  
 

ery truly yours,

 
   

obert N. Swetnick
Partner

RNS:sb

ce Fausto E. Zapata, Jr., Esq. (Via ECF)
Retu Singla, Esq. (Via ECF)
